Case: 1:09-cv-01775 Document #: 1075 Filed: 06/05/18 Page 1 of 1 PageID #:19566

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

Securities And Exchange Commission, et al.
                                                Plaintiff,
v.                                                            Case No.: 1:09−cv−01775
                                                              Honorable Jeffrey T. Gilbert
The Nutmeg Group, LLC, et al.
                                                Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, June 5, 2018:


       MINUTE entry before the Honorable Jeffrey T. Gilbert: Plaintiff's Motion for
Entry of Default, and for a Final Judgment Against The Nutmeg Group, LLC [1073] is
taken under advisement. The motion hearing noticed for 6/7/18 is stricken with no
appearances required. Mailed notice (ber, )




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